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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

                                          §
   In re:                                 §     Chapter 7
                                          §
   ASTRALABS, INC.                        §     Case No. 23-10164-SMR
                                          §
             Debtor                       §
  ______________________________________________________________________________

     ANDREW RYAN’S PRELIMINARY RESPONSE TO TRUSTEE’S MOTION FOR
                              STATUS CONFERENCE
  ______________________________________________________________________________

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE:

         1.      The Trustee election of July 28, 2023, was conducted with the utmost rigor and

  integrity by the U.S. Trustee’s office. After the election, U.S.T. counsel, Mr. Tobin, announced

  that per procedure, he would submit a disputed election report to the court, which the parties could

  then respond to. The Trustee’s motion appears to be an attempt to improperly influence the court’s

  reception of that report.

         2.      The Trustee admits that he has no grounds for expedited consideration (¶ 40), but

  there are also no grounds for status hearing. If the Trustee wishes to dispute the election, he should

  do after the election report is issued. As admitted in the motion, the U.S. Trustee is already

  investigating allegations surrounding the election (¶ 3). Further, the hearing is requested to discuss

  “(a) the Trustee’s contemplated motion for show cause order and sanctions; (b) related discovery,

  scheduling, and coordination with other pending matters.” (¶ 8). There is nothing stopping the

  Trustee from filing any motion on proper time to allow for full discovery and response and

  requesting a status hearing afterwards to schedule discovery.

         3.      A status hearing serves no purpose at this time except giving the Trustee’s counsel

  a platform to prejudice the Court regarding the election and his allegations against the creditors.
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  Any such allegations should be addressed, as the Trustee himself indicates, in a motion or other

  vehicle with proper due-process protections rather than at a status hearing. Further, any hearing

  held in this matter should be held in the ordinary course, after submission of the U.S. Trustee’s

  election report and after the deadline to respond thereto, rather than on an expedited basis. As the

  Trustee admits, there are no grounds to expedite.

            4.    Mr. Ryan reserves his right to contest each and every allegation made in the motion.

            WHEREFORE, Andrew Ryan, prays that the Court deny the Motion without prejudice or

  set the hearing far enough in the future that the parties can receive and respond to the U.S. Trustee’s

  report.

  Dated: August 9, 2023                                  Respectfully submitted,

                                                         /s/ Ron Satija
                                                         Ron Satija
                                                         State Bar No. 24039158
                                                         HAYWARD PLLC
                                                         7600 Burnet Road, Suite 530
                                                         Austin, TX 78757
                                                         (737) 881-7102
                                                         rsatija@haywardfirm.com

                                                         Counsel for Andrew Ryan, Creditor in the
                                                         Bankruptcy Estate of ASTRALABS, INC.

                                   CERTIFICATE OF SERVICE

         The signature above certifies that a true and correct copy of the foregoing document has
  been served by CM/ECF or by first class, U.S. mail, postage prepaid within one business day of
  August 9, 2023, on the following:

   ASTRALABS, INC.                                    Randolph Osherow
   979 Springdale Road, Suite #123                    342 W Woodlawn, Suite 100
   Austin, Texas 78723                                San Antonio, TX 78212

                                                      Jay Ong
   The Lane Law Firm, PLLC                            Munsch Hardt Kopf & Harr, P.C.
   Robert Chamless Lane                               1717 West 6th Street
   6200 Savoy Dr, Suite 1150                          Suite 250
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   Houston, Texas 77036                   Austin, TX 78703


   United States Trustee – AU12
   Attn: Shane P. Tobin
   903 San Jacinto Blvd., Room 230
   Austin, Texas 78701
